      Case 2:18-cv-00510-JNP-PMW Document 22 Filed 08/10/18 Page 1 of 1




    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                    CENTRAL DIVISION


JOSE MORENO, Individually, and on                    ORDER GRANTING STIPULATED
Behalf of All Others Similarly Situated,             JOINT MOTION TO STAY ORDER
                                                     TO PROPOSE SCHEDULE
                  Plaintiff,

       v.                                            Case No. 2:18-cv-00510-JNP-PMW

POLARITYTE, INC.; DENVER LOUGH;
and JEFF DYER,                                       District Judge Jill N. Parrish

                  Defendants.                        Chief Magistrate Judge Paul M. Warner


       Before the court is the Parties’ stipulated joint motion to stay the court’s Order to Propose

Schedule. The Parties’ motion is GRANTED. Accordingly:

       1.      The tasks set forth in the Order to Propose Schedule (Dkt. No. 11) shall not occur

unless and until the action proceeds past the motion-to-dismiss stage; and

       2.      In the event that the action proceeds past the motion-to-dismiss stage, the Order to

Propose Schedule (Dkt. No. 11) shall not be considered to be entered until twenty-one (21) days

after the order denying a motion to dismiss has been issued.

       IT IS SO ORDERED.

       DATED this 10th day of August, 2018.

                                             BY THE COURT:



                                             ______________________________
                                             PAUL M. WARNER
                                             Chief United States Magistrate Judge
